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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON



MATS JÄRLSTRÖM,                                                    Case No. 3:17-cv-00652-SB

                     Plaintiff,                                                  JUDGMENT

              v.

CHRISTOPHER D. ALDRIDGE, WILLIAM
J. BOYD, DAREN L. CONE, SHELLY MC
DUQUETTE, JASON J. KENT, LOGAN T.
MILES, RON SINGH, DAVE M. VAN
DYKE, SEAN W. ST. CLAIR, AMIN
WAHAB, and OSCAR J. ZUNIGA JR., in
their official capacities as members of the
Oregon State Board of Examiners for
Engineering and Land Surveying,

                     Defendants.


     Based on this Court’s Opinion and Order, IT IS HEREBY ORDERED AND

ADJUDGED:

     A.      Declaratory Relief. The Court hereby declares that (i) Or. Rev. Stat. § 672.020,

             Or. Rev. Stat. § 672.045(1)-(2), and Or. Admin. R. 820-010-0730(a) and (c)

             violate the First Amendment as applied to Plaintiff Järlström, and (ii) Or. Rev.




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              Stat. § 672.002(2), Or. Rev. Stat. § 672.007(1)(b), and OAR 820-010-0730(3)(a)

              violate the First Amendment on their face.

       B.     Injunctive Relief. The Court hereby converts the previously-entered Preliminary

              Injunction into a Permanent Injunction, as follows:

              1.     Plaintiff Järlström may study, communicate publicly about, and

                     communicate privately about, his theories relating to traffic lights as long

                     as Plaintiff Järlström’s communications occur outside the context of an

                     employment or contractual relationship relating to the timing of traffic

                     lights with a governmental or other entity that changes or implements or

                     has final approval to change or implement traffic-light timing without the

                     review and acceptance of responsibility by an Oregon-licensed

                     professional engineer.

              2.     Plaintiff Järlström may describe himself publicly and privately using the

                     word “engineer.”

              3.     The Board shall not enforce the Professional Engineer Registration Act,

                     Or. Rev. Stat. § 672.002-672.325, et seq., or any implementing

                     regulations, against Plaintiff Järlström for having engaged in the activities

                     described in Paragraph 1 or Paragraph 2 above.

The Court denies any pending motions as moot.

       DATED this 28th day of December, 2018.


                                                    STACIE F. BECKERMAN
                                                    United States Magistrate Judge




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